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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

ANTHONY EID,

Plaintiff,
Case No. 2:20-cv-GAD-DRG
-vs-

WAYNE STATE UNIVERSITY, WAYNE STATE
UNIVERSITY SCHOOL OF MEDICINE, NIKOLINA
CAMAJ, MARGIT CHADWELL, MATTHEW JACKSON,
RICHARD S. BAKER, R. DARIN ELLIS, in
their individual and official capacities,
jointly and severally,

Defendants.

/

ZOOM DEPOSITION OF MARGIT CHADWELL, M.D., F.A.A.F.P.

 

Taken remotely via video conference by the Plaintiff on
Thursday, the 7th day of October, 2021 in Birmingham,

Michigan at 10:00 a.m.

APPEARANCES :

For the Plaintiff: J. ROBERT FLORES (VA Bar No. 42080)
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Job No. 16301

 

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1 Students are encouraged to meet with our staff or the

2 __ Assistant Dean at any time, knowing that confidentiality is

3 respected and upheld. Our office provides a variety of

4 _ services, all central to your well-being and development.

5 Is that close or consistent with what you know to be the
6 _ mission of your office?

7A Yes.

8 Q_ Atthe schools that | have attended, the person at the top
9 _uSually is, whether you're talking about a Principal, or a

10 Superintendent, or a Dean, those are people who don't get
11 nearly as many problems presented to them as the assistants
12 underneath. So whether it's the Vice Principal, or an

13. Associate Dean, or an Assistant Dean, or it seems like the
14 assistants deal with a lot of the pain and anguish, and the
15 Deans, and the Principals, and the Superintendents are there
16 to make sure they're smiling, they're representing the

17 __ school, and everybody likes them.

18 So I just wanted to get a sense, because sometimes

19 websites, even though that's the stated mission, the reality
20 __ isa little bit different. And so | wanted to ask you, when

21 you think about yourself relative to the Dean of the Medical
22 — School, are you kind of the good cop or the bad cop, or is
23 there any kinds of situation like that?

24 MR. PORTER: Objection, form and foundation.

No
a

Q (BY MR. FLORES) If you can answer that question, I'd

1A_ Excuse me?

2 Q_ Do you know my client, Anthony Eid?

3 A_ | know him as a student, former student, yes.

4 Q_ And when he was a former student, did he hold any student
5 government position?

6 A Hedid. He was the President of his class.

7 Q_ | want to direct your attention now -- | want to focus a

8 _ little bit more on the actual case, so | want to direct your

9 attention first to October 31, 2018. And on that date did

10 ‘you have a discussion with a woman by the name of, with the
11 first name of Pamela?

12 A ldid.

13 Q_ At the time that you had that conversation, had you ever met
14 her previously?

15 A_ |had not.

16 Q_ And did you learn her last name?

17 A Yes, | did.

18 Q_ And the last name?

19 A Excuse me.

20 Q
21 A_ Burton.

22 Q_ And how did it -- how did you come to talk with her on that

23 ~— date?

24 A_ My receptionist provided me with a, basically put forward a
25 +s message, that this Pamela Burton wanted to speak with me. |

Last name?

 

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1 appreciate it.
2 MR. PORTER: Go ahead.
3 THE WITNESS: Can you repeat the question.
4 Q_ (BYMR. FLORES) Are you -- do you view yourself, in terms of
5 the mission of your office, in your particular role, would
6 you see yourself as someone that the students would see as,
7 I'm going to go to talk to Dean Chadwell, because she can
8 help me or, | don't really want to talk to Dean Chadwell
9 because she’s like the disciplinarian within the Medical
10 School?
11 A_ It's definitely number one.
12 Q_ Allright. Good.
13 A That's my life.
14 Q Do you address both behavioral and academic issues for

15 students, or does someone else, do you share that

16 —_ responsibility with someone else?

17 A_ It's a shared responsibility with other offices. Student
18 = Affairs is not primarily academic, although, obviously, yes,
19 we provide a lot of support for students with academic
20 challenges, as well as behavioral aspects, too.

21 Q_ Soit's fair to say that students are encouraged to look at
22 you and your office in a positive way, where they should go
23 to get help if they're having a problem?

24 A_ That's true.

25 Q_ Do you know my client, Anthony Eid?

 

 

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1 had no idea what it was about. | called -- | returned the

2 call from my desk phone that afternoon.

3 Q_ And approximately how long did that telephone call last?

4 A_ It was maybe 10, 15, about a 15-minute conversation, | would
5 Say.

6 Q_ And could you, to the best of your recollection, please

7 describe that telephone conversation in detail?

8 A_ So she called me with a lot of seriousness in her demeanor,
9 her voice over the phone, and basically let me know that she
10. —_ was encouraged to give me a call. She was encouraged by Dr.
11 Friday, who was a colleague, and a strong faculty member in
12 ‘the School of Medicine for many, many years, and worked at
13 Children's Hospital; she was the Pediatric Clerkship

14 Director, and this Pam Burton was a nurse, she told me, at
15 Children's Hospital.

16 So she had worked with Dr. Friday, and had recounted the
17's same thing she was about to tell me to Dr. Friday, and Dr.

18 ‘Friday said, you know, you ought to give the School of

19 = Medicine a call, and let them know this and see, you know,
20 you know, where this might go. And so that's -- so on that
21. encouragement, she called me that day and recounted her
22 story.

23 Q_ So just to be clear, the doctor who you've just mentioned,

24 that's Dr. Friday, as in the day of the week?

25 A Yes, Dr. Friday. Uh-huh.

 

 

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1 Q_ Children's Hospital? daughter a current student at Wayne State?
2A Yes. A_ | believe she had actually transferred, or decided to move
3 Q_ That's in Detroit? out West, | believe it was Colorado, and | think that was
4A_ Right. just in process, or -- but, yeah. She was referring to what

5 Q_ And now, when she -- well, what did she tell you about the

6 case she was calling you about; what did she say?

7 A’ She told me about her daughter, who was a Wayne State

8 undergraduate student, and her connection with one of our

9 medical students, Mr. Eid, and that there had been ongoing
10 _issues in terms of communications that were troublesome. And
11 that there had also been a posting of what seemed to be a

12 fake Court case and, essentially, there were just these --

13 and that turned out to be something that wasn't real.

14 And because of all the troublesome communication between
15 ‘her daughter and Anthony Eid, and she also recounted her
16 daughter felt unnerved by this, that she had already

7 proceeded to go to the Wayne State Police on this, and she
18 just wanted it to stop.

19 And she just, you know, didn't really know where else,

20 ~_—what else to do with this, but she felt very strongly that,

21 you know, once she found out Mr. Eid was a medical student,
22 that that is not in holding with, you know, how a medical

23 __ student or future physician should conduct themselves.

24 So that's what she basically recounted to me in terms

25 __ of, yeah, there was definitely high seriousness and concern

Q_ So do you remember whether or not, at the time you took the
phone call in 2018, whether she was or was not a student at
that time?
A_ | don't know the exact dates of when her daughter, you know,
10 _ left Wayne State, or if she had left at that very point. All
11 | know is that what she was recounting happened while she was

1
2
3
4
5 had happened when they were both students at Wayne.
6
7
8
9

12  astudent at Wayne, as was Anthony.

13 Q_ Is there anything else that you remember from that phone

14 call?

15 A_ | remember that she just had this real urgency about it, and
16 = areal seriousness, as | said before, and maybe even a

17 little, like, some, like, angst and fear. | mean, that's why

18 ‘the police issue, you know, that came up as them proceeding
19 with that. And | think the Court case, the fictitious Court

20 _—scase, that was really troublesome to them, and really

21 worrisome.

22 And so, yeah, they -- that's what | remember distinctly

23 from that conversation, that this had been just really

24 bothersome to the entire family, and really scary to the

25 _ whole family. She was worried for her daughter, clearly.

 

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on her part and there was, yeah, the semblance of behavior

2 __ that seemed to be very out of touch with what we would expect
3s from a medical student.
4 Q_ And let me just go back just a couple questions. So at one
point during the conversation did she talk about the Wayne
6 — State Police Department?
7 A_ She mentioned Wayne State Police, and | believe they had
8 already -- they were in the process of filing a report with
9 them at the time. | mean, they had -- it sounded like they
10 _—ihad endured a couple of years, almost, of these inappropriate
11 interactions, and it just had come to a point where they felt
12 ‘like they needed help from the University.
13 Q When you say they, you're talking about the Burtons --
14 A lam.
15 Q_ -- making a complaint?
16 A Right.
17 Q_ And your recollection is that these allegations about
18 troubling behavior lasted a couple of years; that's your
19 recollection?
20 A_ It seemed like they, they had been quite protracted. Yeah,
21 it seems like they had been -- because her daughter was an
22 ~—undergraduate student, so Anthony was a year two student at
23 ‘the time, so that would have had to been a few years ongoing
24 from what she was telling me.
25 Q_ Atthe time that you spoke with Pamela Burton, was her

 

 

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1 MR. FLORES: Bailey, if you would publish Exhibit A
2 so that Dr. Chadwell and the others can take a look at that
3 document, please.
4 EXHIBIT TECH: One moment. And I'm going to drop
5 itin the chat. We were having a little problem with Drop
6 ‘Box this morning, so I'm going to drop the pdf in there, so
7 it will actually have to be downloaded to be viewed.
8 THE WITNESS: So I should click on the chat?
9 EXHIBIT TECH: Or you can look at the shared screen
10 ~—s+here, and Mr. Flores will direct me as to what we want to
11 look at.
12 MR. FLORES: Go down to the first full page.
13 Q (BY MR. FLORES) Do you recognize what that is, Dr. Chadwell?
14 A_ Yeah, this is the, it looks like the follow-up of her, that
15 she wrote me after our conversation.
16 Q_ Soif | -- let me give you a moment for you to read that
7 E-mail through in its entirety, and then let me know when
18 you're done.
19 A Okay. I'm going to have to minimize my gallery view here.
20 ~=— Okay.
21 Q_ First, let me ask if you could please tell me what
22 suggestions after, or as a result of talking to Jane Doe's
23 mother, what suggestions did you make that she's referring to

24 here in the first sentence of that E-mail?
25 A_ So the suggestions were, since she brought me the complaint,

 

 

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1 I needed some more substantive, something substantive to go 1 A_ No, she told me that this Police Report was in progress.

2 off of. I can't just -- you know, | wanted her to provide me 2 Q_ And you thought -- is it fair to say that you thought it was

3 _ with some substantive elements to this complaint before | 3 appropriate, given the circumstances, to discuss a student at

4 would further that, and consider it, because she told me a 4 the Medical School with a third party, even though you didn't

5 __ lot in that conversation. And so | said, well, you know, 5 really know who you were talking about, you just knew how she

6 whatever you have to provide me to substantiate what you told 6 _was representing herself?

7 me, that would be helpful in considering what | ought to do 7 A_ No, that's not fair to say, because | did not discuss him, |

8 with it. And so that was one of the suggestions. 8 was taking in her complaint, because there was no reason for

9 Another suggestion was, because of the safety concerns 9  metodiscuss him. | was simply the receptor receiving her

10 and the angst that she had about the situation, that she -- | 10 complaint, and basically that was the point of the

11 said, you know, you always have, since you're already 11 conversation. It came out of the blue on that afternoon, as

12 __ involved with Wayne State Police, you have the option for a 12 you know.

13. PPO; you could follow up on that, depending on where you're 13 Q_ At any time in that conversation did you have any concerns

14 ~— at with this. So those were the two suggestions that | 14 that you might be violating FERPA, known by the Family

15 remember. 15 Education Records Protection Act?

16 Q Okay. When you made those suggestions to what you described 16 MR. PORTER: Objection, foundation.

17. ~~ asa clearly distraught mother, what authority were you 17 Q (BY MR. FLORES) Are you familiar with the privacy rights of

18 relying on to be able to provide that advice? 18 students, Dr. Chadwell?

19 A Well, my own authority in terms of it was just common sense 19 A Of course.

20 ‘to Say, I’m not going to act on something without having some 20 Q_ Are you familiar with what I'm referring to as FERPA?

21 substantive, something to look, you know, to substantiate her 21 A Yes.

22 ~complaint. So that was just my own authority, as an 22 Q_ And were you -- did you have any concern whatsoever as to

23 _ institutional official, that | was doing due diligence. And 23. ~ whether or not there might be a violation of FERPA in even

24 ‘then, obviously, with Wayne State Police already being in the 24 having this telephone call with someone who you did not know,

25 _— picture, | made that suggestion about, you could initiate a 25 but was representing themselves as a victim?

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1 PPO if that's where you feel like you need to go with this. 1A_ There were no educational records shared, nothing that was

2 Q_ And at the time that you made the recommendation for a PPO 2 specific to Mr. Eid. It was simply an intake, and that's why

3. which, am| correct, it's my understanding that you're 3 __|_asked her, for her to -- the burden was on her to provide

4 referring to a Personal Protective Order? 4 me with additional substantive reports, which she did in this

5 A Well, | want to say | didn't make the recommendation; I said 5 E-mail, to even see if this was valid, and something that

6 _ it was an option, since she had already been in contact with 6 would need to be advanced.

7 police. So it was not my personal recommendation, it was 7 Q_ And just to be clear, did you raise the issue of the PPO, or

8 just an option that she had, that | pointed out to her. 8 did she?

9 Q_Ijust want to make sure, you've referred to it as a PPO 9 A_ She -- it was in the course of the conversation, and her

10 several times. We're talking about a Personal -- 10 __ telling me about the Police Report, and just wanting, her

11 A Yes, a Personal Protection Order. 11 daughter wanting to just be left alone, and so it was in that

12 Q_ Atthe time that you spoke with her earlier that day, do you 12 context. And so, again, it was more a discussion of options,

13. know whether anyone had actually made a complaint to the 13 you know, while you're talking with the police, you could

14 + Wayne State Police Department? 14 explore that, but it was not a recommendation; it was simply

15 A No, | was not aware of that. 15 that's something that you would talk to, you could talk to

16 Q_ And do you know what other police departments cover Wayne 16 ‘the police about.

17 ~— State? 17 Q You simply raised it, you did not recommend it?

18 A Well, Detroit Police Department, I think, works in tandem 18 A_ Right. No, there was -- right, it was just based on that

19 with Wayne State Police, but typically, Wayne State, it 19 __ initial conversation. | had no reason to recommend that.

20 ~_—sccovers our square mile, if you will, of our campus, like 20 Q_ I'd like to direct your attention to the bottom, the last

21 pretty much, they are the go-to for anything that happens on 21 couple sentences of the E-mail. Do you still have it visible

22 ‘the campus. 22 to yourself?

23 Q_ But you were not told by Mrs. Burton that Anthony had been 23 A_ Ido. Yep, Ido.

24 arrested, or that any other legal action had been taken at 24 Q Is it fair to say that the parent did not, was very

25 _ that time against my client? 25 —_ uncomfortable with the notion that Mr. Eid would become a
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1 doctor, and have the responsibility to care for patients? 1 determination. It's something | would always share with my

2 A Well, it's just what she said here. She was very -- | am 2 boss, the Vice Dean of Medical Education, to make him aware,

3. s-very concerned about someone with this character becoming a 3 and so that's what I did. | did share this with my boss, and

4 doctor. That's her words. 4 ~ we talk about all of these sorts of issues, student issues on

§ Q_ And did you share that concern? 5 aweekly basis.

6 A Share that concern, with -- 6 And the second thing that came out of it is, basically,

7 Q_ Based on what the parent had just told you. 7‘ that, you know, whether or not it's true, | didn't know. |

8 MR. PORTER: I'm sorry, Bob. 8 mean, I don't know how much credibility there is, where this

9 THE WITNESS: Share it with -- 9 was all going, but I had to share that with, also, Dr.

10 MR. PORTER: | didn't catch the first part of that. 10 Jackson, who was the Chair of the Professionalism Committee,

11 Q (BY MR. FLORES) Based on the E-mail and the earlier 11 to look into it, because that was not my job to verify this,

12 conversation with Pam Burton, did you share her concern about 12 to look into it.

13 Mr. Eid becoming a doctor? 13 But the complaints were definitely serious enough in

14 A Well, it wasn't specific. | mean, this just -- she -- this 14 terms of our professional expectations of our own students,

15 happened with Mr. Eid, and what she was telling me, but 15 __ that it needed to be at least funneled to the person who

16 = anyone who would do, you know, what she claimed, would 16 could do a deeper look at this, and determine if this is

17 —_—-warrant some, you know, would be a concern in terms of 17. something that would rise to a professionalism, you know,

18 honesty and, yes, would be concerning as far as our 18 hearing or charge, if you will. And so that's why | sent

19 professional, if | hold it up to our professional Code of 19 that to Dr. Jackson.

20 Conduct for our physicians in training. 20 And one other person that would need to know this, that

21 It could be any student. If there was no name attached 21 =I shared it with, is the counselor for Mr. Eid, and that's

22 ‘to this, and this was just sent to me just at random, then, 22 ~==“Mrs. Robichaud, just as an awareness.

23 __—syes,, it's concerning at face value. 23 Q_ On that -- after you received the call from Pam Burton, did

24 Q_ And while you were talking with Pam Burton earlier in the 24 — you reach out to Dr. Friday to confirm that the

25 day, did you take any notes while you were having that 25 representation that was being made by Ms. Burton, was

Page 31 Page 33

1 conversation? 1 actually true?

2 A Not that! remember. | mean, again, | put the onus -- it was 2 A_ | don't think | -- I don't recall, like, reaching out to

3 __ kind of at the end of, I think the end of the afternoon; | 3 her. I may have seen her in the hallway, but I mean, it's --

4 was getting ready to wrap things up, and this phone call came 4 I didn't -- | didn't think that was -- that was not, like, a

5 in. And so that's why I said, you know, send me what you 5 __ priority in terms of, because I had so much that was sent to

6 would like to substantiate, or like to, you know, 6 = me and relayed to me here in terms of material from Ms.

7 substantiate this conversation as much as you want. And so 7 _ Burton, to substantiate what her initial complaint was, or to

8 the onus was really on her, but | don't remember taking any 8 round out her complaint.

9 notes or -- all | had was, I think, the little piece of paper 9 So | think I, you know, I would frequently see, you

10 ~—- with her name and the phone number from the receptionist, 10 ~—iknow, occasionally, | would say, see Dr. Friday coming

11 ‘that’s about it. 11 through our office suite, and | may have, you know, said

12 Q_ Did you do anything related to this complaint after having 12. something to her about it then, but really, that wasn't

13 that conversation with Pamela Burton? 13 something that | felt needed to be tracked down.

14 A Yeah, so -- so, obviously, this has now reached me, elevated, 14 Q_ Okay. So prior to distributing this information that you

15 or encouraged by a highly regarded and knowledgeable faculty 15 received from an individual identifying herself as Pam

16 =member that this Pamela Burton worked with, namely, Dr. 16 Burton, and working at Children’s with Dr. Friday, before

17 Friday. And now she sent me all this supplemental 17‘: you -- you went ahead and circulated this information before

18 = information, you know, materials in support of what she told 18 — confirming any of the information that Ms. Burton provided

19 me during the conversation. 19 you with Dr. Friday, is that correct?

20 So as an -- now it's institutional knowledge, because 20 A_ Well, circulating is not the right word. There's no

21 I'm the institutional person responsible for our student body 21 circulation; these are very sensitive things that come to me,

22 ~—at the Medical School. So, yes, so | definitely had to think 22 and like | said, they were pinpoint directed at three

23 ‘through, what do I do with this information. And so two 23 __ particular individuals who | felt needed to know. And so,

24 things, one is anything of this level of concern is not 24 again, that was Dr. Baker, my Vice Dean of Medical Education;

25 ~— something | would look at on my own, and make a 25 Dr. Jackson, the Chair of the Professionalism Committee, and
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1 the class counselor, as just an awareness, FYI.

2 So the onus wasn't on me at all to, in my capacity to,
3 you know, verify the information before | sent it, or |

4 _ shared that with what was in my context of my

5 responsibility. So, no, | didn't go back and start the

6 fact-finding and verifying and all that; it was simply for

7 consultation, where do we go from here, and the individuals
8  whocould actually do that.

9 Q_ Again, | just want to confirm, you viewed your responsibility
10 as needing to provide this information that you received to
11 Dr. Jackson, to Dr. Baker, and to Mrs. Robichaud, is that

12 ~~ correct?

13 A What was your question, if it was my responsibility?

14 Q_ Ifit was your responsibility, after receiving the complaint,
15 to send this information to Dr. Jackson, to Dr. Baker, and to
16 provide it to Mrs. Robichaud?

17 A_ | felt that that was my responsibility, to those select

18 __ individuals, for very specific reasons.

19 Q_ So, and this was done -- I'll withdraw it.

20 Okay. So at the time that you sent this, or received

21 this E-mail, you had had three or four hours to kind of think
22 about the complaint. Were you concerned; were you anxious
23 about this, were you -- did you think this was a real

24 emergency? What was your thinking about this complaint at
25 __ that time, at the very beginning?

1 Q_ Had you dealt with anything like this in that, you know,

2. during those previous months?

3 A_ Yes, | have -- | have dealt with many professionalism issues,
4 _ severe, significant, some not so -- the whole spectrum, and
5 _ also had served previously on the Professionalism Committee
6 for many years as a faculty member, was invited to serve on
7 that Professionalism Committee. And so | had seen quite a
8 few, | would say the most egregious issues that bubble up in
9  amedical school setting. And so | felt like a gauge, had a

10 _— pretty good gauge about how serious this was, or could be.
11 MR. FLORES: If we would -- if you would go ahead

12 and -- let me just make sure it's the right document. Could

13: you please publish Exhibit E.

14 EXHIBIT TECH: One moment.

15 MR. FLORES: And go down to the second page where
16 the E-mail starts. Okay. Go down further to the bottom half

17 _ of the page; one more. Is that the end of the document right

18 ‘there?

19 EXHIBIT TECH: Yeah. Yeah, that's just --

20 Q (BYMR. FLORES) Okay. So this -- do you recognize this, Dr.
21 Chadwell?

22 A Sure, uh-huh.

23 Q_ And can you read the date on what's been marked as Exhibit
24 ~=O€é:.

25 A An E-mail from December 5, 2018.

 

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A_ It definitely gave me some pause for, cause for pause, in

1

2 __ terms of really having to think through it, and it was

3‘ troublesome, very troublesome to hear this. And it was very
4 mucha, if true, very much a significant issue that | knew

5 was going to have to be addressed in the right, with the

6 right individuals that | just mentioned, and in the process

7 of the medical school to be looked into. | mean, | knew at

8 least that, that this has to be looked into, because it

9 really was a professionalism, and it looked like an honesty
10 _—_—sissue that she was recounting to me, an interpersonal

11 relationship issues. Those are specific things within our
12 Code of Professionalism for our physicians in training that
13 __—sreally seemed out of kilter.

14 So it just seemed like a very bizarre, almost, story

15 that, but she had this, you know, these attachments that were
16 = supporting her, her complaint to me. And they, for sure,

17. __—s needed to be looked into within the right process and that's
18 -- yeah, so during those hours | definitely felt the, you

19 know, I thought, well, this is very serious sounding, and I
20 _— was awaiting her substantiation before | did anything with
21 it.

22 Q_ And you had been in your current position for about a year, a
23 ——s-year and a half at the time that this complaint came to your

24 _ attention, is that correct?

25 A_ Correct.

 

 

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1 Q_ And can you tell me what time?

2 A 8:22 a.m.

3 Q_ Soon December 5th, early in the morning, you sent a copy of
4 the -- do you remember what you sent to Dr. Baker, as

5 attached to this E-mail?

6 A_ It was Nikolina Camaj's report regarding her, yeah, her

7 report of Anthony Eid.

8 Q_ Give me just a moment. Okay. And do you remember sending
9 the report, also, to Dr. Jackson?

10 A_ I don't know if he received it separately, or if | sent it.

11 Q_ Allright.

12 MR. FLORES: Could you please publish Exhibit D.
13 EXHIBIT TECH: Was that B; B as in boy?

14 MR. FLORES: David.

15 EXHIBIT TECH: D, as in David.

16 MR. FLORES: And go down to the second page.

17 Q (BY MR. FLORES) Take a look at that E-mail, and see if that
18 refreshes your recollection as to what, or whether you sent

19 — the report to Dr. Jackson?

20 A Okay. Yeah, it looks like the same thing. He may have

21 received it separately, | don't know, but I -- yeah,

22 because -- yeah, | felt like he should have it.

23 MR. FLORES: Okay. You can take that off the

24 screen.

25 Q (BY MR. FLORES) Now, are you familiar with something called

 

 

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1 with us very often, so -- 1 will, for advancing, but I'm very open door towards women,

2 Q_ And as you progressed in school, and you applied for medical 2 __ obviously, and all students, but | know that everybody has

3. school, you got in, did you face any kind of discrimination, 3 __ their own issues, you know. Women medical students having

4 orany kind of harassment as a result of being a woman in a 4 — children during medical school, | mean, those are things they

5 field that, even at that time, women were making great 5 _ can definitely come and talk to me about, but there's no

6 strides, but not everyone was happy about having women 6 particular initiative or agenda | would have to advance the

7 significantly increasing their presence in the profession? 7 women students over anyone else.

8 MR. PORTER: Objection, foundation. 8 Q_ I just want to go back and revisit the report that you

9 THE WITNESS: Again, | never really -- maybe | was 9 received from Ms. Camaj. When you reviewed it, did you do

10 just an ignorant kid, a happy kid, but I never had that 10 ‘the review before you sent it along to Dr. Jackson and Dr.

11 sense. Wayne State was the only school | applied to, and my 11 Baker, or did you send it first, and then when you had time

12 dad said, hey, there's a great school down the street, you 12 later on, review the documents?

13. can be a doctor just like everybody else. 13 A_ lusually don't forward things that | don't at least read, so

14 So | applied to Wayne, and I'm still there, so | 14 | probably skimmed through it. I'm sure | skimmed through

15 — definitely have a fit, but I never felt -- | always felt it 15 __ it. I think it was pretty early in the morning when | sent

16 was welcoming, and | never had that sense of male/female or, 16 it, if |remember the time stamp. Yeah, so I'm sure I just,

17 ‘like, some kind of lightning rod because | was a female or -- 17 ___| read it, and then forwarded it, because Dr. Baker would

18 ‘I've been the only female in the board room many, many times 18 have expected that.

19 over the years but, yeah, no, | don't look at it like that at 19 Q_ And did you have any responsibility to make sure that Ms.

20 all, or didn't feel that way. 20 Camaj had done a full investigation before accepting it, and

21 Q (BY MR. FLORES) In your role as Associate Dean, though, have 21 then turning around and sending it to Dr. Baker and Dr.

22 you talked with students who have experienced discrimination,
23. ‘or experienced harassment, and had to deal with the issue
24 from that perspective?

N
a

A_ For sure, for sure. And | totally understand how that can

22 Jackson?

23 MR. PORTER: Object to form.

24 THE WITNESS: I have no control over that process,
25 __ or authority over Nikolina, whatsoever. So it came to me, I

 

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easily be something that many students and many cultures

face. | mean, my parents just happened to raise us with a
very positive outlook, but definitely, because I was exposed
to so much, and had traveled so much, | definitely saw all of
that, it's just | didn't have a personal, sort of, sort of
stumbling block with that but, yes, it's something I see
routinely.

MR. FLORES: It would help me, if we can go ahead
9 and take down the exhibit, just so | can see everyone's
10 ‘features a little larger.
11 Q (BY MR. FLORES) So! want to just ask, as a woman in a high
12 level, and very visible role at Wayne State, do you feel any

an Om oH hm wD =

13. obligation, or do you take it upon yourself to work, to make

14 sure that women are being advanced in the Medical School at

15 Wayne State?

16 A_ There are -- there are committees to that, which | have not

17. __—scbeen a part of. I know there are, you know, definitely ways

18 to get involved with that particular objective, but I have

19 —_— not been involved with that because, yeah, my focus is on the
20 __ students, and all students. And about half of our students,

21 actually, now we tipped over to more than half are women and
22 so, yeah, it's changed a lot. The culture has changed a lot

23 __ in the last, like you said, you know, years that I've been a

24 ~~ student.

25 And so, yeah, | don't have a particular agenda, if you

 

 

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read it, | passed it on. That's basically it.

1

2 MR. FLORES: Okay. Give me a second. | think |

3 can jump over quite a bit, so if you'd just bear with me for

4 a moment.

5 THE WITNESS: Sure.

6 Q (BY MR. FLORES) Okay. During the time that you have been in
7 ‘your position, your current position, has the Medical School

8 come under investigation by the Office for Civil Rights as

9 part of --

10 A_ During -- there has been -- | know of a complaint, yes.
11 Q_ Okay. And did that involve a medical student by the name of
12 Ms. Rubenstein?

13 A That's correct.

14 Q_ And do you know what the ultimate finding of the Office for
15 Civil Rights was after they concluded their investigation?

16 A_ I don't know.

17 Q_ Would it be a surprise to you to find out that the Office for
18 = Civil Rights found that Wayne State had retaliated against
19 her by expelling her?

20 MR. PORTER: Objection, form.

21 THE WITNESS: Yeah, | don't -- | never got a report
22 ~— about that.

23 Q (BY MR. FLORES) Did you -- were you aware that the

24 University agreed, had an agreement with the Office for Civil
25 __ Rights at the conclusion of their investigation?

 

 

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1 A WasI-- can you repeat that.

2 Q_ Are you aware that the Medical School signed an agreement

3. with the Office for Civil Rights at the conclusion of the

4 Civil Rights investigation?

5 A_ No, I'm not aware of that.

6 Q_ And within the last year, or rather, | guess, within the last

7 12 months, have you received any training, vis-a-vis,

8 retaliation and the Title 9 provided either by the General

9 Counsel's office, or by another provider?

10 MR. PORTER: Objection, asked and answered.

11 THE WITNESS: | have not received anything in terms
12 of training for retaliation, and | already referenced the

13 ‘Title 9 update presentation that was provided internally last
14 summer sometime.

15 Q (BY MR. FLORES) Thank you. You testified just a few moments
16 ago that you had no control over Nikolina Camaj, is that

17s correct?

18 A Correct.

19 Q_ Do you know what Dean, or what University official she

20 —s answers to?

1 doesn't say that definitively she was going to have that

2 role.

3 Q_ Soif she -- if the original complainant did not serve as the

4 charging party at a Professionalism Hearing, who could

5 __ substitute, if you know, for that party?

6 A_ It could be various individuals, but in this case, it was

7 ‘most appropriate for Ms. Burton to serve in that role.

8 Q_ But that's also a role that Dean Jackson could play if she

9 was unavailable?

10 A_ No, typically, as the Chair, he would not be the charging

11 Party.

12 Q_ So your testimony is, based on this, it was only Ms. Burton,
13. Amanda Burton?

14 MR. PORTER: Objection, misstates her prior

15 ‘testimony.

16 THE WITNESS: I'm not sure what you mean, it was

17. only Ms. Burton. This looks like this was an initial inquiry
18 to her, to see if this was something she could -- yeah, so
19 __ it's -- yeah, that's what it looks like to me. It was just

20 his initial inquiry of her, to serve in that role, which was

 

10  justread that to yourself, and let me know when you're

11 done.

12 A Okay. Okay.

13 Q_ Can you tell me what that E-mail refers to?

14 A_ Dr. Jackson's E-mail here? It looks like he's trying to

15 coordinate an actual hearing for the Professionalism

16 Committee.

17 Q_ Do you know to whom that E-mail is addressed?

18 A Well, it looks like to Ms. Burton, and referencing charging,
19 _ being the charging party.

20 Q_ So approximately -- well, let me ask you this question.

21 From that E-mail, can you determine the name of the

22 person who will be the charging party at that hearing?

23 A Well, it looks like an inquiry from Dr. Jackson, because he
24 ~—_—-was ready to move it forward, and the E-mail obviously went
25 to Ms. Burton, but I don't know if she ultimately, | mean, it

 

21 A_ | believe it's Dean Strauss. 21 most appropriate.

22 MR. FLORES: Okay. Could you publish Exhibit G for 22 MR. FLORES: If you would scroll to the top of the
23°—sme. 23 page, what's been marked as page one in the other E-mail.

24 EXHIBIT TECH: One moment. 24 Q (BYMR. FLORES) Can you just read that to yourself, and let
25 MR. FLORES: David, | don't have a lot of 25 me know when you're done.

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1 additional questions, so | think | can probably get through 1A Allset.

2 __ in about the next 20 to 30 minutes, so rather than taking a 2 Q_ And what does that E-mail refer to?

3 break for lunch, I'd like to do that, if that's okay with 3 A_ That's the original E-mail, yeah, that you showed me in the

4 you. 4 _ beginning, from Ms. Burton.

5 MR. PORTER: Yeah, that works for us. Thank you. 5 Q_ Well, this E-mail is from you to Dr. Jackson on December

6 MR. FLORES: All right. Can you go down to the 6 10th, isn’t that correct?

7 bottom of that document, please. Okay. Stop right there. 7 A_ Right.

8  Goup alittle more. Okay. 8 Q_ And in that E-mail, isn't it correct that you're asking Dr.

9 Q (BY MR. FLORES) Dr. Chadwell, will you do me a favor, and 9 Jackson to remove some information from the Professionalism

 

10 packet that will be distributed to the members of the

11 committee?

12 A_ I'm not asking him to do that; | said it would be a

13‘ preference, and that's because that initial E-mail, in that

14 initial E-mail she referenced a PPO. And when | spoke with

15 ‘Dr. Jackson, sorry, Dean Strauss about this way back when he,
16 you know, he -- we were kind of going back and forth about

17. ___— what should be done next. And so he had, you know, he said,
18 it may not be at that level or, you know, as far as a PPO, we

19 don't know yet, and that.

20 So my point in sending this to Dr. Jackson to not

21 include that was because | thought it could taint Anthony's

22 perception, I guess, the perception of him to the

23 ‘Professional Committee, because there was no PPO, that I was
24 aware of at that moment; it was just that, like, that was

25 just an option that Ms. Burton had at her disposal.

 

 

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